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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

 KEITH EDWARD MOSS,                           )
     Plaintiff,                               )    Case No. 7:21-cv-00233
                                              )
 v.                                           )
                                              )    By: Michael F. Urbanski
 JOSHUA SALMON, et al.,                       )    Chief United States District Judge
     Defendants.                              )

                               MEMORANDUM OPINION

        Plaintiff Keith Edward Moss, a state pretrial detainee proceeding pro se, filed this

 civil action under 42 U.S.C. § 1983 against various correctional officials and healthcare

 providers at the Lynchburg Adult Detention Center. By order entered September 3, 2021,

 the court notified Moss that his amended complaint contained misjoined claims and

 defendants. See ECF No. 9. The court advised Moss that in order to proceed with this

 action, he must file a second amended complaint within 30 days. The court expressly warned

 Moss that failure to file a second amended complaint may result in dismissal of the case.

        Despite receiving an extension of time, Moss has not filed a second amended

 complaint or had any further communication with the court. He has not complied with the

 court’s order and the time for doing so has expired. Accordingly, the court will dismiss the

 action without prejudice.

         An appropriate order will be entered.

                                                   Entered: December 3, 2021
                                                                     Michael F. Urbanski
                                                                     Chief U.S. District Judge
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                                                   Michael F. Urbanski
                                                   Chief United States District Judge
